         Case 1:21-cr-00628-ABJ Document 18 Filed 10/26/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No.: 21-cr-628-ABJ
                                     :
v.                                   :
                                     :
MICHAEL ANGELO RILEY,                :
                                     :
            Defendant.               :
____________________________________:

                               NOTICE OF APPEARANCE

       Please enter the appearance of Christopher Macchiaroli of Silverman, Thompson, Slutkin,

& White, LLC as counsel for Defendant Michael Angelo Riley in the above-referenced matter.

Dated: October 26, 2021                    Respectfully submitted,

                                           SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                              /s/ Christopher Macchiaroli
                                           Christopher Macchiaroli (D.C. Bar No. 491825)
                                           1750 K Street, NW, Suite 810
                                           Washington, D.C. 20006
                                           Telephone: (202) 539-2444
                                           Facsimile: (410) 547-2432
                                           Email: cmacchiaroli@silvermanthompson.com

                                           Counsel for Defendant
